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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE


 JACK COCCHIARELLA,                                      )   CIVIL CASE NO.:
                                                         )
 -and-                                                   )   JUDGE:
                                                         )
 POLITICALLY CORRECT STRATEGIES                          )
 LLC,                                                    )
                                                         )
                          Plaintiffs,                    )
                                                         )
          v.                                             )
                                                         )
 NATE KIM,                                               )
                                                         )
                          Defendant.                     )


                                             COMPLAINT
                                        JURY TRIAL DEMANDED


         Plaintiffs Jack Cocchiarella (“Jack”) and Politically Correct Strategies LLC (“PCS”)

(collectively “Plaintiffs”), through undersigned counsel, file this Complaint against Defendant

Nate Kim (“Kim” or “Defendant”) and allege as follows:

                                          INTRODUCTION

         1.       This case arises out of the relentless and malicious actions taken by Kim, a student

at Dartmouth College (“Dartmouth”) in Hanover, New Hampshire, to defame and harass Jack, a

former student at Dartmouth and political consultant, following Jack’s pointed questioning of

Congressman Madison Cawthorn (“Cawthorn”) at a controversial campus event hosted by the

Dartmouth College Republicans on or about Sunday, October 24, 2021 (the “Event”).

         2.       Since the Event and leading up to this day, Jack has been the target of a calculated

smear campaign by Kim through the propagation of false and fabricated information and
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statements (the “False Statements and Lies”) over various social media channels and other public

places, including, but not limited to the social media platform Twitter, to silence Jack and

permanently damage his private and public reputation, his chosen academic and career aspirations,

his business relationships, the respect of his academic peers and others in the community, and

business engagements between Jack and/or PCS and third-parties, presumably in retaliation for

confronting Cawthorn at the Event.

        3.      Significantly, the conduct of Kim has directly provoked others to make death

threats and other threats of violence against Jack, the most recent being on September 15, 2022.

To this day, Jack lives in fear for his life and safety as a result of the False Statements and Lies

being spread by Kim.

        4.      For instance, as more fully outlined below, Kim individually and in concert with

others has continued to propagate and publish the False Statements and Lies that Jack is a “rapist,”

“raped his classmates,” “raped 6 women,” “raped 8 women,” “raped unconscious girls,” and is

“getting away with rape.”

        5.      Jack has never sexually assaulted or raped anyone.

        6.      Jack has never been criminally investigated, indicted, or charged for any sexual

misconduct or sexual assault crime, including rape. Further, he has never been the subject of a

civil suit or Title IX investigation.

        7.      Despite this, Kim has maliciously disseminated the False Statements and Lies that

such “cases” existed against Jack, Jack is “guilty,” and that Dartmouth is engaging in a cover-up

of the “cases” for political reasons.

        8.      As a direct and proximate result of Kim’s conduct, Jack has, personally, suffered

extreme emotional distress and reputational damages.




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       9.      As a direct result of the malicious conduct of Kim, Jack was ostracized at

Dartmouth and transferred to Columbia University (“Columbia”) in New York, New York in 2022

to continue his education in the hopes of ending the ongoing harassment and abuse by Kim.

       10.     Despite Jack’s attempt to rid himself of the harassing, abusive, and malicious

actions of Kim at Dartmouth, Kim continued his smear campaign against Jack at Columbia,

including, but not limited to, tagging Columbia’s Twitter account in his defamatory tweets against

Jack and contacting Columbia directly to continue propagating the False Statements and Lies that

Jack is a “rapist” and “guilty.”

       11.     The actions by Kim in fabricating and continuously disseminating the False

Statements and Lies has destroyed Jack’s relationships with and respect of his academic peers and

those in the community as a whole, his ability to pursue an education and career of his own

choosing, his public and private reputation, and opportunities and experiences that any normal

college student would enjoy but for the harassment by Kim.

       12.     Jack and his company PCS have also suffered, and will continue to suffer, economic

injuries, the loss of career and business opportunities, and loss of future potential earnings due to

Kim’s conduct in propagating the False Statements and Lies.

       13.     For instance, as a direct and proximate result of Kim’s ongoing malicious

harassment and conduct in propagating the False Statements and Lies, Jack and PCS lost several

digital consulting accounts with several major political election campaigns and will continue to

lose lucrative business opportunities in the future.

       14.     Jack has also lost the ability to pursue politics as the profession of his choosing. As

a result of Kim’s continued slandering and defamation of Jack’s reputation with the publication of

the False Statements and Lies, Jack has been ostracized from the political community and has been




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removed from consideration for various high-profile and once-in-a-lifetime opportunities, which

will continue until Kim’s conduct is stopped.

       15.     The insurmountable damage caused to Jack by the conduct of Kim must be

corrected by Kim’s full retraction and repudiation of the False Statements and Lies, and an

affirmative statement by Kim that he is fully aware the False Statements and Lies are untrue,

fabricated, and were falsely made by Kim to cause harm to and damage the reputation of Jack.

Only with this affirmative remedy will Jack be able to finally clear his name, feel safe, and begin

putting the pieces of his life back together that have been shattered by Kim’s conduct.

       16.     Jack and PCS therefore bring this action against Kim based upon the state law

claims of (a) defamation, (b) intentional infliction of emotional distress, (c) false light invasion of

privacy, and (d) tortious interference with economic relationships and seek relief from this Court

in the form of compensatory damages, punitive and exemplary damages, recovery of attorney’s

fees and expenses in prosecuting this action, immediate injunctive relief, and any other relief as

this Court deems proper to immediately bar the further dissemination of the malicious False

Statements and Lies by Kim and compel Kim to immediately retract and delete the False

Statements and Lies.

                                             PARTIES

       17.     Jack is a natural person, citizen of the United States, a resident of the State of

Florida, and a current undergraduate student at Columbia.

       18.     PCS is a Florida Limited Liability Company with its principal place of business in

the State of Florida and its sole member being Jack, a resident of the State of Florida.

       19.     Upon information and belief, Kim is a natural person, citizen of the United States,

a resident of the State of California, and a current undergraduate student at Dartmouth.




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                                 JURISDICTION AND VENUE

       20.     This Court has subject matter jurisdiction of this action under 28 U.S.C. §

1332(a)(1) because the matter in controversy exceeds the sum or value of $75,000 and complete

diversity exists between the parties.

       21.     This Court has personal jurisdiction over Kim under New Hampshire’s long-arm

statute, NH ST § 510:4, because: (a) Kim’s tortious activity resulting in injuries to Jack occurred

in and is ongoing in the State of New Hampshire; (b) Kim’s actions were committed with the

purpose of injuring Jack in the State of New Hampshire; (c) Jack was injured in the State of New

Hampshire by the actions of Kim; (d) and/or Kim might reasonably have expected that Jack would

be injured in the State of New Hampshire by the actions of Kim.

       22.     Venue is proper in the District of New Hampshire pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events giving rise to the claims brought herein

commenced, occurred, and continue to occur within this District at Dartmouth in Hanover, New

Hampshire.

                                  FACUTAL BACKGROUND

                          “The Future of the Republican Party” Event

       23.     On or about the evening of Sunday, October 24, 2021, the Dartmouth College

Republicans hosted an event entitled, “The Future of the Republican Party” at Filene Auditorium

in Moore Hall on the campus of Dartmouth. The high-profile panel of speakers at the Event, which

garnered attendance by roughly 150 students and community members, included 26-year-old Rep.

Madison Cawthorn (R-N.C.), the youngest member of the 117th Congress; Karoline Leavitt, a

Republican candidate for New Hampshire’s first congressional district who previously served as

former President Donald Trump’s Assistant Press Secretary and then Rep. Elise Stefanik’s (R-NY)




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Director of Communications; and Republican campaign strategist Alex Bruesewitz, founder of

political consulting firm X Strategies with a significant digital presence on the social medial

platform Twitter. See Strier, J, College Republicans panel featuring Rep. Madison Cawthorn

draws     student   protests,    THE    DARTMOUTH       (Oct.   26,    2021),    available    at:

https://www.thedartmouth.com/article/2021/10/college-republicans-panel-featuring-rep-

madison-cawthorn-draws-student-protests; Berghuis, K., Campus Clashes Over Cawthorn:

College Republicans in the Hot Seat, THE DARTMOUTH REVIEW (Aug. 24, 2021), available at:

https://dartreview.com/campus-clashes-college-republicans-in-the-hot-seat/.

        24.    The hosting of the Event on Dartmouth’s campus was controversial and hotly

contested by students and campus groups alike.

        25.    For instance, as reported by the student publication The Dartmouth Review, “the

prelude to Sunday’s event evoked significant campus-wide opposition – event advertisement

posters were vandalized, multiple campus groups issued swift condemnations, College

Republicans members reported instances of harassment, and [the event] even elicited a protest.”

Berghuis, K., Campus Clashes Over Cawthorn: College Republicans in the Hot Seat, THE

DARTMOUTH REVIEW (Aug. 24, 2021), available at: https://dartreview.com/campus-clashes-

college-republicans-in-the-hot-seat/.

        26.    According to The Dartmouth Review, “[o]ne week prior to the event, the

Dartmouth Democrats issued a statement that proclaimed: ‘Any benefit these speakers’ words

could bring to the diversity of thought and pool of intellectual ideas at Dartmouth would be more

than exceeded by the damage of their fear mongering and lies.’” Id.

        27.    According to The Dartmouth Review, “The Dartmouth Editorial Board also

released a condemnation of the event, urging the College Republicans to ‘pick speakers who make




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a habit of telling the truth,’ particularly in reference to the panelists’ position on the 2020 Election

and COVID-19.” Id.

        28.     As reported by the student publication The Dartmouth, the “[t]he Sunday evening

event covered a wide range of topics, including the U.S. withdrawal from Afghanistan, school

prayer[,] and the future of the Republican Party. Students walked out in protest throughout the

panel, and additional protestors gathered outside in a rally organized by the Dartmouth chapter of

the Young Democratic Socialists of America.” Strier, J, College Republicans panel featuring Rep.

Madison Cawthorn draws student protests, THE DARTMOUTH (Oct. 26, 2021), available at:

https://www.thedartmouth.com/article/2021/10/college-republicans-panel-featuring-rep-

madison-cawthorn-draws-student-protests.

        29.     Cawthorn, one of the high-profile speakers at the event, is well-known nationally

for his views on the validity of the 2020 U.S. Presidential Election and the events leading up the

disturbance at the U.S. Capitol on January 6, 2021. Kranish, M., The making of Madison

Cawthorn: How falsehoods helped propel the career of a new pro-Trump star of the far right, The

Washington             Post         (Feb.           27,          2021),          available           at:

https://www.washingtonpost.com/politics/2021/02/27/making-madison-cawthorn-how-

falsehoods-helped-propel-career-new-pro-trump-star-far-right/.

        30.     Jack was a freshman at Dartmouth and in the audience at the time of the Event on

Sunday, October 24, 2021.

        31.     At the time of the Event, Jack was also pursuing gainful employment as a digital

consultant for several major political election campaigns and sought out other opportunities to

build his political career.




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       32.     During the question-and-answer session at the Event, Jack confronted Cawthorn

on his views on the validity of the 2020 U.S. Election and the events leading up the disturbance at

the U.S. Capital on January 6, 2021.

       33.     Immediately after the Event on October 24, 2021, Jack posted a video of his

encounter with Cawthorn on his Twitter account, @JDCocchiarella (“Jack’s Twitter Account”),

which presently has over 272,000 active followers.

       34.     The video of Jack’s interaction with Cawthorn went viral and was circulated by

major news and media outlets throughout the United States, including CNN, NBC, and others.

           Anonymous Rape Statements Disparaging Jack on Librex Begin to Appear

       35.     Immediately after the video of Jack and Cawthorn went viral, false and disparaging

posts about Jack began appearing on Librex, an anonymous discussion platform frequented by

Dartmouth and other Ivy League students.1

       36.     For instance, one post on Librex by an anonymous individual falsely stated that

Jack raped an unconscious person.

       37.     This anonymous individual further falsely stated that the fabricated conduct

referenced above was reported to Title IX at Dartmouth, who was “very familiar” with Jack

“because a few other girls had reported” him.

       38.     Since the Librex posts were made anonymously, and the program and all of its data

has since been destroyed, the identity of the person(s) making the false claims against Jack are

unknown.




1
  See White, T. Abrupt shutdown of Librex prompts mixed reactions from students, The Dartmouth
(Feb. 25, 2022) available at: https://www.thedartmouth.com/article/2022/02/abrupt-shutdown-of-
librex-prompts-mixed-reactions-from-students.


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        39.     Contrary to the vulgar, outright false, and disparaging statements made in the

anonymous Librex posts, Jack has never sexually assaulted or raped anyone.

        40.     Further, Jack has never been criminally investigated, indicted, or charged for any

sexual misconduct or sexual assault crime, including rape. Further, he has never been the subject

of a civil suit or Title IX investigation.

        41.     In fact, Dartmouth issued a letter on July 25, 2022, confirming Jack’s status as a

student in good academic standing with no disciplinary record at the College.

        42.     On August 1, 2022, Dartmouth’s Title IX Coordinator also issued an email to a

prospective business associate of Jack confirming that Jack had never been subject to an

investigation by Dartmouth’s Title IX Office.

                       Kim Begins His Malicious Smear Campaign
             of Publishing and Disseminating the False Statements and Lies
   on Kim’s Twitter Accounts, Jack’s Twitter Account, and the Twitter Accounts of Others

        43.     Based upon information and belief, and at all material times herein, Kim was the

owner and operator of two public Twitter accounts under the handles @stoprapists101 and

@aplopl3x (collectively “Kim’s Twitter Accounts”). A screenshot of the banners of both accounts

is found below:




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       44.     Kim also owned and operated a separate public personal Twitter account under the

handle @NKim57.

       45.     From November 2021 to this day, Kim has used the Twitter Accounts in a

calculated manner as a conduit to publish the False Statements and Lies to the general public by

way of: (a) posting the False Statements and Lies on each separate Twitter Account; (b) tagging

or linking the False Statements and Lies to Jack’s Twitter account and the Twitter accounts of

others, including business associates of Jack and PCS; and/or (c) replying to tweets from Jack’s

Twitter account and the Twitter account of others, including business associates of Jack and PCS,

with the False Statements and Lies.

       46.     Kim has hidden behind both of his anonymous Twitter Accounts to commence and

perpetuate his smear campaign against Jack through the public propagation of the False Statements

and Lies to silence Jack and damage his private and public reputation, his academic and career

aspirations, and the business opportunities and relationships of Jack and PCS.




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       47.     For instance, Kim used his @stoprapists101 Twitter account on the following

dates, among others, to attack Jack and publish and spread the False Statements and Lies into the

public eye:

               a.     On November 17, 2021, Kim replied to a tweet from Jack’s Twitter account,

                      attaching apparent screenshots of a Librex post and stating: “that’s cool but

                      when are you going to address the fact that you have multiple rape

                      allegations against you and that they were so credible you were banned from

                      the Dartmouth democrats and the fraternities around campus?”2




2
 Unless otherwise noted, the tweets identified herein are quoted in verbatim as published on Kim’s
Twitter Accounts and contain various grammatical and punctuation errors.


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    b.   On November 19, 2021, Kim replied to a tweet from Jack’s account calling

         him a “known rapist”:




    c.   On December 3, 2021, Kim replied to a tweet from Jack’s Twitter account,

         stating: “that’s cool but when are you gonna stop raping my classmates at

         dartmouth”.




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    d.      On December 4, 2021, Kim replied to a tweet from and further tagged Jack’s

            Twitter Account, stating:

          i.       “it’s sad that so many people are supporting a rapist :(”;

         ii.       “this man has multiple rape allegations against him that have been
                   corroborated by multiple witnesses, and he’s been banned from
                   many frats and the dartmouth democrats. why do you think he’s a
                   good role model or worth supporting?” and



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       iii.    “that’s cool but you already posted this clip and if you would stop
               raping my classmates that would be nice kthxbai”.




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    e.   On December 5, 2021, Kim replied to a tweet from Jack’s Twitter Account,

         stating “ok that’s cool but when are you gonna stop raping my classmates”,

         again attaching an apparent screenshot of a Librex post.




    f.   Again, on December 5, 2021, Kim replied to a tweet from Jack’s Twitter

         Account, stating: “that’s cool if the GOP implodes, but please stop raping

         my classmates”.




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    g.   On December 13, 2021, Kim replied to a tweet from Jack’s Twitter

         Account, stating: “maybe people would take you seriously if you stopped

         raping unconscious girls”.




    h.   On December 15, 2021, Kim replied to a tweet from Jack’s Twitter

         Account, stating: “okay but when will you address the fact that you have

         been raping unconscious girls. these are my classmates and i will NOT let

         you get away with this shit. this is unacceptable. may God have mercy on

         your broken soul”, again attaching an apparent screenshot of a Librex post.




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    i.   On that same day, December 15, 2021, Kim contacted or otherwise tagged

         the Twitter accounts of individuals having business relationships with Jack




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         and/or PCS, disseminating the False Statements and Lies that Jack was a

         rapist and forwarding the Librex posts.

    j.   On December 16, 2021, in response to a comment by a separate Twitter user

         on Jack’s Twitter Account responding to Jack’s December 15, 2021 tweet

         calling Kim a troll, Kim responded: “you want to defend rapists? that's fine,

         be that way, but this guy has been raping my classmates and should be

         punished for this. unlike you i don’t defend rapists based upon political

         affiliation”.




    k.   On March 11, 2022, Kim replied to a tweet from Jack’s Twitter Account,

         stating: “It appears you don’t know what consent is, when you raped 6 girls

         on our campus in one term and then called the allegations false and blamed

         it on the Dartmouth Republicans. Stop pretending like you care about

         women’s rights”.




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    l.   On August 16, 2022, Kim replied to a tweet from another Twitter user

         commenting on an August 15, 2022, tweet from Jack’s Twitter Account

         confirming that Kim is a student at Dartmouth, posting a redacted

         photograph of his student identification card, tagging Kim’s @aplopl3x

         account and indicating that Kim’s @stoprapists101 account is an alternate

         to and associated with Kim’s @aplopl3x account, and further stating: “i am

         not the one lying here. there were 8 different girls who voiced concerns of

         what Jack did to them. if you have an explanation about how they all are

         lying, then yeah, please let us know”.




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       48.    Kim also used his @aplopl3x Twitter account on the following dates, among others,

to maliciously attack Jack and publish and spread the False Statements and Lies into the public

eye:

              a.      On July 23, 2022, Nate began engaging with other Twitter users to continue

                      disseminating the False Statements and Lies, stating:

                    i.       “thank you for someone finally saying something about this absolute
                             scumbag”;




                   ii.       “The victims, because of lack of hard evidence, would have to face
                             JC [Jack Cocchiarella] (and probably family + lawyers) in cross
                             examination for title IX to continue, according to one victim on
                             Librex”; and




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         iii.      “the entire situation is fucked up[.] one of the alleged victims
                   claimed as well that title ix told her that she would have to be cross
                   examined with JC [Jack Cocchiarella] in the room with her if the
                   investigation were to proceed (i wish i had that screenshot)”.




    b.      On that same day, July 23, 2022, Kim also linked and tagged his own

            personal Twitter handle @NKim57 and his alternate Twitter account handle

            @stoprapists101 as “friends” when replying to video game giveaways:




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    c.   On July 31, 2022, Kim began trolling Jack following his decision to transfer

         to Columbia due to Kim’s ongoing harassment by tagging Jack’s Twitter

         Account and stating: “@JDCocchiarella from dartmouth, trying to transfer

         to Columbia to hide the allegations”.



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    d.       That same day, July 31, 2022, Kim continued propagating the False

             Statements and Lies that Jack is “hiding,” now falsely stating that

             Dartmouth is engaging in a cover-up, saying he couldn’t be “100% sure” of

             the truth of the lies and falsities he was spuing because of the anonymity of

             the source, and attaching the same photograph of Kim’s redacted Dartmouth

             student identification card that he posted on his @stoprapists101 Twitter

             account on August 16, 2021, stating:

           i.       “i was also told by one supposed victim on librex (it was anonymous
                    so I can’t be 100% sure) that in order to progress an investigation,
                    she would have to be cross-examined with both her and JC25 in the
                    room”;

         ii.        “but even with their political differences, they should not condone
                    nor protect against rapists, no matter what ideology they propose. at
                    school, some people have tried to make it a political matter, and
                    JC25 [Jack Cocchiarella] has tried to make it as such. but it is not.”;
                    and

         iii.       “i hope that he is fairly investigated and if found to be guilty of these
                    crimes, duly punished as appropriate. here is proof that I am a
                    student at dartmouth, so that I’m not just a random account saying
                    random things”.




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    e.   On August 6, 2022, Kim goes on another tweet tirade propagating the False

         Statements and Lies and trolling Jack’s choice to transfer to Columbia due

         to Kim’s malicious harassment, stating:




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         i.    “dartmouth student here. there were absolutely were 8 cases filed
               against him. the title ix investigation was stopped most likely due to
               admin’s request, as he blamed the dartmouth republicans for making
               up allegations. This is easily debunked because the republican club
               (1)”;

        ii.    “hadn’t even formed at the time the majority of the allegations came
               up, plus the club would have had to convince 8 (mostly liberal)
               women to come forward and make a false accusation. According to
               one victim, title ix said they could not do an investigation (2)”;

       iii.    “without first having a cross-examination between the victim and
               jack, something that a victim should not have to endure. Jack is an
               adult with 8 criminal assault claims against him. he should be
               investigated and fairly punished if shown that he is guilty. (3)”; and

       iv.     “if it was just 1 accusation it might be different, but with 8 and him
               transferring colleges and ignoring the accusations, there is a serious
               problem here. dont play politics with women’s safety. They should
               feel safe on campus when around men, and vice versa. Thank you.
               (4)”.




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    f.   On August 8, 2022, and August 9, 2022, Kim in conjunction with other

         Twitter users began trolling a family with the same last name as Jack, but

         with no relation, who had lost a family member. The family eventually

         blocked Kim’s account, but nevertheless, Kim’s crusade to destroy Jack’s

         reputation continued:




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    g.      On August 11, 2022, Kim engaged and attacked another Twitter user

            confronting his False Statements and Lies, admitting that he and others have

            also contacted Dartmouth and Columbia directly to further tarnish Jack’s

            reputation academically:

          i.       “as a student at dartmouth, it sickens me to see people like you. there
                   were 8 allegations that everyone on campus knows are all true, and
                   somehow you come to the other conclusion. you should be ashamed
                   of yourself.”; and

         ii.       “i’m not one of the ones obsessively tweeting at JC [Jack
                   Cocchiarella], nor do I think the article provides any evidence
                   beyond visibility. however, me and others have been emailing both



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                   dartmouth and columbia and have received cop-out responses or
                   none at all.”




    h.      On August 14, 2022, Kim continued his malicious smear campaign and

            attacking other Twitter users, claiming to be familiar with some of the

            “victims” and appearing to hold a grudge for sexual accusations cast against

            Kim in the past:

          i.       “the end game is obvious, that he gets punished for his crimes
                   against my classmates. Are you saying the victim from the
                   NHJournal does not exist and they are making everything up? what
                   is your end game and why are you staunchly defending a rapist you
                   know is guilty?”;

         ii.       “as someone falsely accused of sexual harassment multiple times
                   growing up (without formal reports filed, which has resulted in me




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               having to resign from jobs/endure some punishment) I would like to
               see institutions offer the same treatment to everyone (2)”;

       iii.    “especially when in this case there are not one, but 8 purported
               allegations, and the offense is more severe, being rape versus
               harassment. i understand that it is not unheard of for females to lie
               about this, but with the volume of allegations it should be checked
               out. (3)”; and

       iv.     “given Jack’s behavior online and in person at dartmouth, plus my
               familiarity with the case / some of the victims, then it is quite clear
               to me and to almost everyone else that there is no question Jack
               committed these crimes, or whatever you want to call them. (4)”.




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    i.       On August 16, 2022, Kim replied to multiple Twitter users responding to

             an August 15, 2022, tweet on Jack’s Twitter Account admitting that he has

             had no interaction with Jack whatsoever, yet calls him a predator, claims

             that he met with one of the “victims,” and claims the False Statements and

             Lies are credible:

           i.       “no interaction, the first thing I heard was that he was a predator, so
                    why would with 8 claims and jack’s blaming of the republican club
                    and refusal to respond to the accusations, with no obvious reason to
                    assume that 8 girls are lying, why is it wrong?”;

         ii.        “enlighten us, what did jack tell you that changes the situation, and
                    how are 8 different girls all lying about what jack did to them “; and

         iii.       “dartmouth student here. please stop defending rapists. As someone
                    who has talked with one of the eight victims, these allegations are
                    credible and i would like to see the college investigate all allegations
                    fairly and not ignore ones about prominent Democrats.”




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    j.   On that same day, August 16, 2022, Kim again posted the same photograph

         of his Dartmouth student identification card as posted on his

         @stoprapists101 account:




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       49.     Kim’s conduct in creating and disseminating the False Statements and Lies has

provoked, and continues to provoke, other persons to widely distribute, post, repost, and comment

on the False Statements and Lies on various internet sites, including, but not limited to, Twitter,

Reddit, and Dartmouth’s newest anonymous chat platform, Fizz.

       50.     Most significantly, Kim’s conduct has provoked others to make death threats and

other threats of violence against Jack, the most recent being on September 15, 2022, where a

Twitter user commented that Jack should be shot, leaving Jack in fear for his life and safety because

of the False Statements and Lies spread by Kim:




                  Jack’s Transfer to Columbia and Loss of Business Accounts
                  and Opportunities Directly Resulting from the Malicious and
             Tortious Conduct of Kim in Propagating the False Statements and Lies

       51.     Based upon the conduct of Kim in propagating the False Statements and Lies by

way of Kim’s Twitter Accounts and through other methods as identified above, Jack was unfairly



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ridiculed, ostracized, and isolated at Dartmouth and had no other option but to transfer to Columbia

in 2022 due to the considerable damage caused to his reputation on the Dartmouth campus.

          52.   Upon his application for transfer to Columbia, Jack was required to disclose and

affirm that he had never been found responsible for a disciplinary violation at any educational

institution he attended from high school forward, whether related to academic misconduct or

behavioral misconduct that resulted in a disciplinary action, including, but not limited to,

probation, suspension, removal, dismissal, or expulsion from the institution.

          53.   As indicated herein, and to reiterate, Jack has never been criminally investigated,

indicted, or charged for any sexual misconduct or sexual assault crime, including rape. Further,

he has never been the subject of a civil suit or Title IX investigation.

          54.   Jack has never sexually assaulted or raped anyone.

          55.   On July 25, 2022, Dartmouth issued a letter confirming Jack’s status as a student

in good academic standing with no disciplinary record at the College.

          56.   On August 1, 2022, Dartmouth’s Title IX Coordinator also issued an email to a

prospective business associate of Jack confirming that Jack had never been subject to an

investigation by Dartmouth’s Title IX Office.

          57.   Columbia accepted Jack’s transfer application, as he was a student in good

academic standing with no disciplinary record at Dartmouth and had never been found responsible

for a disciplinary violation at any educational institution he attended from high school forward,

whether related to academic misconduct or behavioral misconduct that resulted in a disciplinary

action.

          58.   Despite Jack’s attempts to remove himself from the toxic environment at

Dartmouth proximately caused by Kim’s actions, Kim took his smear campaign to the Columbia




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campus in a concerted effort to perpetuate his goal of destroying the personal, academic, and

professional reputation of Jack wherever he went.

       59.     Jack’s peers at Columbia have informed him that they cannot associate with Jack

until his name is cleared.

       60.     As a direct and proximate result of the False Statements and Lies disseminated by

Kim, Jack has suffered physical, psychological, emotional, and reputational damages that continue

to this day and will continue into the future until Kim’s conduct stops and Kim provides an

affirmative statement that he is fully aware the False Statements and Lies are untrue, fabricated,

and were falsely made by Kim to cause harm to and damage the reputation of Jack.

       61.     Kim’s actions have destroyed Jack’s relationships with and respect of his academic

peers and those in the community as a whole, his ability to pursue and education and career of his

own choosing, his public and private reputation, and opportunities and experiences that any normal

college student would enjoy but for the malevolent and spiteful harassment by Kim.

       62.      Further, during all relevant times, Jack and PCS provided digital consulting

services to the political community, including several major political election campaigns.

       63.     Jack and his company PCS have suffered, and will continue to suffer, economic

injuries, the loss of career and business opportunities, and loss of future potential earnings due to

Kim’s conduct in propagating the False Statements and Lies.

       64.     As a direct and proximate result of Kim’s ongoing malicious harassment and

conduct in propagating the False Statements and Lies, Jack and PCS lost the digital consulting

accounts with several major political election campaigns and will continue to lose such lucrative

business opportunities in the future.




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        65.    As a direct result of Kim’s continued slandering and defamation of Jack’s

reputation with the publication of the False Statements and Lies, Jack has also lost the ability to

participate and strive in politics as the profession of his choosing. Jack has since been ostracized

from the political community and has been removed from consideration for various high-profile

and once-in-a-lifetime opportunities, which will only continue until Kim’s conduct is stopped and

Kim provides an affirmative statement that he is fully aware the False Statements and Lies are

untrue, fabricated, and were falsely made by Kim to cause harm to and damage the reputation of

Jack.

                                          COUNT ONE
                                           Defamation

        66.    Jack and PCS incorporate by reference all of the preceding paragraphs of this

Complaint as though fully rewritten herein.

        67.    Kim has made false and defamatory, and harassing statements about Jack to third

parties, including, but not limited to, Dartmouth, Columbia, and to the public, on various internet

and social media platforms such as Twitter, among others.

        68.    Kim deliberately communicated the False Statements and Lies to third parties via

the internet and various social media platforms and conspired with other third parties in an effort

to continue publication of the False Statements and Lies to this day.

        69.    The False Statements and Lies have been seen throughout this District, the State of

New Hampshire, and the United States as a whole.

        70.    Kim’s False Statements and Lies about Jack are not true.

        71.    Jack has never sexually assaulted or raped anyone.




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        72.     Further, Jack has never been criminally investigated, indicted, or charged for any

sexual misconduct or sexual assault crime, including rape. Further, he has never been the subject

of a civil suit or Title IX investigation.

        73.     Kim published the False Statements and Lies without privilege, authorization, or

consent.

        74.     At the time of making the False Statements and Lies, Kim knew or should have

known that the False Statements and Lies were not true.

        75.     Kim made no effort to verify the truth or falsity of the False Statements and Lies

he published.

        76.     Since Kim based his False Statements and Lies on anonymous postings on the

Librex platform, with no possibility of verifying the truth or falsity of such postings, Kim failed to

exercise reasonable care as to the truth of the False Statements and Lies he published and was,

therefore, negligent.

        77.     Kim also acted with actual malice in the publication of the False Statements and

Lies against Jack.

        78.     Kim stated in tweets on or from his Twitter Accounts there were “6 women” then

“8 women,” there was a “lack of hard evidence,” “nor do I think the article provides any evidence,”

“i understand that it is not unheard of for females to lie about this,” he couldn’t be “100% sure” of

the truth of the lies and falsities he was spuing because of the anonymity of the source, and that

the “title IX investigation was stopped.”

        79.     Kim, therefore, had a high degree of awareness of probable falsity of the False

Statements and Lies that he disseminated and continues to disseminate.




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       80.     Kim nevertheless continues to propagate the False Statements and Lies that there

“absolutely were 8 cases filed against” Jack, that Jack is “an adult with 8 criminal assault claims

against him,” that “there is no question Jack committed these crimes.”

       81.     A simple search and review of the criminal docket in the locality of Dartmouth

would have told Kim that there were, and are, no “cases” or “criminal assault claims” filed or

otherwise pending against Jack.

       82.     With the publication of the False Statements and Lies, Kim admittedly was

motivated and intended to damage, destroy, and annihilate Jack’s reputation and the reputation of

his political consulting business.

       83.     The False Statements and Lies published by Kim were, therefore, made with actual

malice in that he had actual knowledge of the False Statements and Lies or recklessly disregarded

the truth of the False Statements and Lies.

       84.     Kim’s False Statements and Lies constitute libel per se, as they contain statements

that Jack committed criminal offenses punishable by imprisonment or otherwise involving moral

turpitude, namely raping unconscious women.

       85.     The word “rape” is a term of art. As defined by the Merriam-Webster Dictionary,

rape is “unlawful sexual activity and usually sexual intercourse carried out forcibly or under threat

of injury against a person’s will or with a person who is beneath a certain age or incapable of valid

consent because of mental illness, mental deficiency, intoxication, unconsciousness, or deception.”

“Rape.” Merriam-Webster.com           Dictionary,       MERRIAM-WEBSTER,            located       at:

https://www.merriam-webster.com/dictionary/rape.

       86.     Rape is a criminal offense punishable by imprisonment under New Hampshire

sexual assault laws and federal law. See N.H. Rev. Stat. Ann. §§ 632-A, et seq.; 10 U.S.C. § 920.




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       87.     As a direct and proximate result of the False Statements and Lies, Jack has suffered

and will continue to suffer immediate and irreparable harm and injury including, but not limited

to, tremendous reputational harm, emotional distress, mental anguish, loss of educational and

career opportunities, loss of future earning capacity, economic injuries, emotional and

psychological damages, and other direct and consequential damages.

       88.     As a direct result of Kim’s conduct, Jack has been, and will continue to be,

ostracized in the academic and political communities of which he willfully chose to engage and

has lost opportunities he would have otherwise been able to pursue but for the malicious

harassment by Kim, including, but not limited to, the enjoyment of being a college student in

pursuit of an undergraduate degree and all social activities and opportunities associated with such

endeavors.

       89.     As a direct and proximate result of the False Statements and Lies, PCS has also

suffered, and will continue to suffer, immediate and irreparable harm and injury, including, but

not limited to, tremendous reputational harm, loss of future earning capacity and business

opportunities, economic injuries, and other direct and consequential damages.

       90.     Because Kim acted willfully, maliciously, with hatred, and unlawfully with the

publication of the False Statements and Lies, Jack and PCS seek exemplary damages in addition

to actual damages to dissuade Kim from engaging in similar conduct in the future.

       91.     Jack and PCS additionally seek relief in the form of an immediate retraction of all

malicious and False Statements and Lies made by Kim in order to repair and restore the devastating

damage caused to Jack’s reputation and the reputation of Jack’s business, PCS by way of the False

Statements and Lies.




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       92.     As a direct and proximate result of Kim’s actions, Jack and PCS have sustained

substantial damages to his person and reputation, the exact amount of which will be proven at trial,

but in excess of $75,000.00.

                                        COUNT TWO
                          Intentional Infliction of Emotional Distress

       93.     Jack incorporates by reference all of the preceding paragraphs of this Complaint as

though fully rewritten herein.

       94.     In creating and publishing the False Statements and Lies, Kim intended to cause

Jack serious emotional distress or knew they would cause Jack serious emotional distress.

       95.     Kim’s conduct in publishing the False Statements and Lies, including that Jack was

a “rapist” and “raping unconscious girls” was so extreme and outrageous as to go beyond all

possible bounds of decency and was such that it can be considered as atrocious and utterly

intolerable in a civilized community.

       96.     With the creation and ongoing publication of the False Statements and Lies, Kim

caused Jack unimaginable psychological injury and mental anguish that no reasonable person

should be expected to endure which continues to this day.

       97.     Kim’s intentional and reckless actions directly caused, and continues to cause,

severe emotional distress to Jack, including but not limited to severe psychological and emotional

damage and distress, mental anguish, and fear for his personal safety.

       98.     Kim’s actions have followed Jack to Columbia and continue to this day,

       99.     The distress suffered, and continuing to be suffered, by Jack as a result of Kim’s

conduct is so severe that no reasonable person should expect to endure it.




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          100.   Kim’s conduct was deliberate and intentional and evidences the degree of malice

necessary to support an award of punitive damages to punish Kim and inhibit such conduct in the

future.

          101.   As a direct and proximate result of Kim’s intentional conduct, Jack has suffered

and will continue to suffer immediate and irreparable harm and injury including, but not limited

to, tremendous reputational harm, emotional distress, mental anguish, loss of educational and

career opportunities, loss of future earning capacity, economic injuries, emotional and

psychological damages, and other direct and consequential damages in an amount to be proven at

trial but in excess of $75,000.00.

                                        COUNT THREE
                                 Invasion of Privacy – False Light

          102.   Jack and PCS incorporate by reference all of the preceding paragraphs of this

Complaint as though fully rewritten herein.

          103.   Kim intentionally gave publicity to matters concerning Jack and PCS, including

through, but not limited to, the False Statements and Lies, to place Jack and PCS before the public

in a false light by, among other things, stating that Jack was a rapist and raped unconscious women.

          104.   Placing any person in the false light of engaging in the act of raping of 8 women,

let alone the rape of 8 women when they are unconscious, is highly offensive.

          105.   Kim knew of and/or recklessly disregarded the falsity of the publicized matters,

including, but not limited to, the False Statements and Lies he iterated and published about Jack.

          106.   Kim based his False Statements and Lies on anonymous postings on the Librex

platform, with no possibility of verifying the truth or falsity of such postings, Kim failed to exercise

reasonable care as to the truth of the False Statements and Lies he published.




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       107.     Kim stated in tweets on or from his Twitter Accounts that there was a “lack of hard

evidence,” “nor do I think the article provides any evidence,” “i understand that it is not unheard

of for females to lie about this,” he couldn’t be “100% sure” of the truth of the lies and falsities he

was spuing because of the anonymity of the source, and that the “title IX investigation was

stopped.”

       108.     Kim knew of and/or recklessly disregarded the false light in which Jack and PCS

would be placed from such publicized matters, including, but not limited to, the False Statements

and Lies concerning Jack.

       109.     As a direct and proximate result of Kim’s actions, Jack has suffered and will

continue to suffer immediate and irreparable harm and injury including, but not limited to,

tremendous reputational harm, emotional distress, mental anguish, loss of educational and career

opportunities, loss of future earning capacity, economic injuries, emotional and psychological

damages, and other direct and consequential damages in an amount to be proven at trial but in

excess of $75,000.00.

       110.     As a direct and proximate result of Kim’s intentional conduct, PCS has suffered

and will continue to suffer immediate and irreparable harm and injury including, but not limited

to, tremendous reputational harm, loss of future earning capacity and business opportunities,

economic injuries, and other direct and consequential damages in an amount to be proven at trial

but in excess of $75,000.00.

                                        COUNT FOUR
                      Tortious Interference with Economic Relationships

       111.     Jack and PCS incorporate by reference all of the preceding paragraphs of this

Complaint as though fully rewritten herein.




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       112.    Kim was aware of the business and economic relationship between Jack and PCS

and several major political election campaigns and the potential for other business opportunities

between Jack and PCS and third-parties.

       113.    Kim disseminated the False Statements and Lies to third parties for the purpose of

intentionally and improperly interfering with Jack’s and PCS’ business relationships and

prospective business relationships, including, but not limited to, their digital consulting work with

several major political election campaigns.

       114.    As a direct result of Kim’s continued slandering and defamation of Jack’s

reputation with the publication of the False Statements and Lies, Jack has also lost the ability to

participate and strive in politics as the profession of his choosing. Jack has since been ostracized

from the political community and has been removed from consideration for various high-profile

and once-in-a-lifetime opportunities.

       115.    Kim had no privilege to interfere with Jack’s and PCS’ business relationships and

opportunities, including those with the several major political election campaigns.

       116.    As a direct and proximate result of Kim’s conduct, Jack and PCS lost the digital

account business the several major political election campaigns and lost business and economic

opportunities for gainful employment in the political community that would have been provided

to Jack and PCS but for Kim’s malicious conduct and interference.

       117.    Kim’s conduct was intentional and evidences the degree of malice necessary to

support an award of punitive damages.

       118.    As a direct and proximate result of Kim’s actions, Jack and PCS have suffered and

will continue to suffer immediate and irreparable harm and injury including, but not limited to,

tremendous reputational harm, loss of past, present, and future earning capacity and business




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opportunities, economic injuries, and other direct and consequential damages in an amount to be

proven at trial but in excess of $75,000.00.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Jack Cocchiarella and Politically Correct Strategies LLC pray

for relief and judgment against Kim as follows:

       (A)     On the First Cause of Action for defamation, a judgment awarding damages in an

amount to be determined at trial in excess of Seventy-Five Thousand Dollars ($75,000.00),

including, without limitation, exemplary and punitive damages and other direct and consequential

damages, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements;

       (B)     On the Second Cause of Action for intentional infliction of emotional distress, a

judgment awarding damages in an amount to be determined at trial in excess of Seventy-Five

Thousand Dollars ($75,000.00), including, without limitation, exemplary and punitive damages

and other direct and consequential damages, plus prejudgment interest, attorneys’ fees, expenses,

costs, and disbursements;

       (C)     On the Third Cause of Action for false light invasion of privacy, a judgment

awarding damages in an amount to be determined at trial in excess of Seventy-Five Thousand

Dollars ($75,000.00), including, without limitation, exemplary and punitive damages and other

direct and consequential damages, plus prejudgment interest, attorneys’ fees, expenses, costs, and

disbursements;

       (D)     On the Fourth Cause of Action for tortious interference with economic relationship,

a judgment awarding damages in an amount to be determined at trial in excess of Seventy-Five

Thousand Dollars ($75,000.00), including, without limitation, direct and consequential damages,

plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements; and




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          (E)       Pursuant to Fed. R. Civ. P. 65, ordering preliminary and permanent injunctive

relief:

                  i.      Enjoining and restraining Kim from creating, publishing, commenting on,

                          or discussing any the False Statements and Lies about Jack on any internet

                          social media platform and/or any and all other public or private forum

                          known or unknown to Jack or PCS, including, but not limited to, Twitter,

                          Reddit, and Fizz;

                ii.       Mandating that Kim immediately and permanently post a retraction of the

                          False Statements and Lies on any internet social media platform and/or any

                          and all other public or private forum known or unknown to Jack or PCS,

                          including, but not limited to, Twitter, Reddit, and Fizz, including an

                          affirmative statement that Kim is fully aware the False Statements and Lies

                          are untrue, fabricated, and were falsely made by Kim to cause harm to and

                          damage the reputation of Jack; and

                iii.      Following the posting of a permanent retraction of the False Statement and

                          Lies as referenced above, mandating that Kim immediately delete and

                          destroy all False Statements and Lies on any internet social media platform

                          and/or any and all other public or private forum known or unknown to Jack

                          or PCS, including, but not limited to, Twitter, Reddit, and Fizz.




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                   Respectfully Submitted,

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                   -and-

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                   Counsel for Plaintiffs Jack Cocchiarella and
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                                        JURY DEMAND

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs hereby demand a trial by jury of all triable

issues that are raised herein or which hereinafter may be raised in this action.


                                    Respectfully Submitted,

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                                    -and-

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